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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 ADAM ROSS,                                            )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )         No. 1:18-cv-1258-JRS-TAB
                                                       )
 BALL STATE UNIVERSITY,                                )
                                                       )
                               Defendant.              )

    ORDER SETTING SETTLEMENT CONFERENCE AND RELATED DEADLINES

        This matter is set for a settlement conference at 1:30 p.m. on July 8, 2019, in Room

 234, United States Courthouse, 46 East Ohio Street, Indianapolis, Indiana, before Magistrate

 Judge Tim A. Baker. Unless excused by order of the Court, clients must appear in-person at

 the settlement conference along with counsel. With respect to corporate, governmental,

 and other organizational entities, an authorized client representative with authority to

 negotiate and communicate a settlement must appear in-person at the settlement

 conference along with their counsel. Under no circumstances will counsel of record be

 deemed to be the proper client representative for settlement purposes. Any insurance company

 that is a party, or is contractually required to defend or indemnify any party, in whole or in part,

 must also have a fully authorized settlement representative present at the conference. All

 persons entering the United States Courthouse must have photo identification.

        Client representatives for all parties must have final settlement authority without

 consulting someone else who is not present. This means that parties should not need or expect to

 contact others, who are not present at the conference, to discuss or modify settlement authority.

 If such a person exists who would need to be consulted, that party must be present at the
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 settlement conference. The Court recognizes that for some corporate and governmental entities,

 and a limited number of other organizational entities with multi-layered approval procedures,

 additional approvals may be required to formally approve a settlement. However, parties and

 their counsel in these limited situations must exercise all possible good faith efforts to ensure that

 the representative(s) present at the settlement conference provides the maximum feasible

 authority and the best possible opportunity to resolve the case. No other persons are permitted to

 attend the settlement conference without leave of Court.

        Three business days before the scheduled conference, the parties shall submit (not

 file) to the Magistrate Judge a confidential settlement statement setting forth a brief

 statement of: (1) relevant facts, including any key facts that the party believes are admitted or in

 dispute; (2) damages, including any applicable back pay, mitigation, compensatory and/or

 punitive damages, or any other special damages; and (3) any pending or anticipated dispositive

 or other substantive motions. The confidential settlement statement should not exceed five,

 double-spaced pages, and submission of exhibits should be kept to a minimum.

        No later than fourteen days prior to the settlement conference, Plaintiff(s) shall

 serve an updated settlement demand on Defendant(s), who shall serve an updated response

 no later than seven days before the settlement conference. The parties shall submit (not

 file) to the Magistrate Judge courtesy copies of their respective demand and response at the

 time of service. Counsel may submit confidential settlement statements and copies of their

 settlement demand/response to the undersigned via mail, fax (317-229-3664) or email

 (MJBaker@insd.uscourts.gov).

        A request to vacate or continue the settlement conference or otherwise depart from this

 order shall be done by motion filed with the Court two weeks prior to the conference, except in
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 exigent circumstances. Such motion will be granted only for good cause. Failure to comply with

 any of the provisions in this order may result in sanctions.

        Date: 4/8/2019


                                         _______________________________
                                          Tim A. Baker
                                          United States Magistrate Judge
                                          Southern District of Indiana




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